

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-71,620-01






EX PARTE LEONARDO ALARCON HERNANDEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 89-CR-718-E
IN THE 357TH DISTRICT COURT FROM CAMERON COUNTY 




	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex.Crim.App. 1967). Applicant was convicted of the offense of
burglary of a building and sentenced to imprisonment for twenty years. 

	On February 19, 2009, an order designating issues was signed by the trial court. The habeas
record has been forwarded to this Court prematurely. We remand this application to Cameron County
to allow the trial judge to complete an evidentiary investigation and enter findings of fact and
conclusions of law.

	The District Clerk of Cameron County is ordered to forward this application to this Court
after the judge of the 357th Judicial District Court completes an evidentiary investigation and enters 
findings of fact and conclusions of law.

Filed: March 25, 2009

Do not publish 


	


